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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
____________________________________
                                         :
KAUFMAN, LLC and                         :
ALAN KAUFMAN                             :
                        Plaintiffs       :    CIVIL ACTION NO.:
v.                                       :    3:17-cv-958 (VAB)
                                         :
HERBERT FEINBERG, RICHARD DERZAW,        :
NORMAN ARNOFF, STEVEN G. STORCH and :
JASON LEVIN                              :
                        Defendants       :    January 15, 2021
____________________________________     :

                                        STATUS REPORT

     Pursuant to the Court’s order dated December 5, 2020 (ECF No. 241), the undersigned

counsel respectfully submit this status report updating the Court on the continuing consequences

of the passing of Herbert Feinberg, a defendant in the captioned matter. Since the last status

report filed with the Court, the undersigned have learned that the New York County Surrogate's

Court has appointed Sandi Feinberg, Mark Allen Feinberg and David H. Feinberg as fiduciaries

of the Estate of Herbert Feinberg. In addition, the undersigned has recently been retained by the

fiduciaries to represent them in this action.

     The undersigned request a scheduling conference with the Court to discuss the setting of

future deadlines in this case.


                                                     /s/
                                                     Stuart M. Katz (ct12088)
                                                     David E. Dobin (ct28526)
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                                CERTIFICATION OF SERVICE

       I hereby certify that on the date hereof a copy of the foregoing was filed electronically.

Notice of the foregoing filing and this Certification of Service will be sent by e-mail to all parties

by operation of the Court's electronic filing system and by mail to any parties who are unable to

accept electronic filing. Parties may access the foregoing filings and this Certification of Service

through the Court's system.



                                               /s/
                                                          David E. Dobin




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